Case 2:10-md-02179-CJB-DPC Document 4073-3 Filed 09/20/11 Page 1 of 2

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISINAA

IN RE: OIL SPILLBY THEOILRIG = =* =MDLNO.2179
DEEPWATER HORIZON IN THE *
GULF OF MEXICO, ON APRIL 20, * CIVIL ACTION NO. 2:11-CV-778
2010 *
* JUDGE BARBIER
THIS DOCUMENT RELATES TO: *
2:11-CV-778 * SECTION J
*
JAMES PEARSON and * MAGISTRATE JUDGE SHUSHAN
THOMAS EDWARD BLACK *
* MAG. DIV. 1
VERSUS *
*
DRC EMERGENCY SERVICES, LLC *
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REQUEST FOR ORAL ARGUMENT

PURSUANT to Local Rule 78:1 E, Petitioners, James Pearson and Thomas Edward Black,
through undersigned counsel, respectfully request that the parties be allowed to present oral
argument in connection with the Motion for Removal ofa Non-Collatera] Matter which is scheduled
for hearing on the 12" day of October, 2011, at 9:30 a.m.

Respectfully submitted,

BOGGS, LOEHN & RODRIGUE

THOMAS E. LOEHN (#8663)
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Thomas Edward Black

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CERTIFICATE OF SERVICE
THEREBY CERTIFY that a copy of the above and foregoing pleading has been served upon

all counsel of record via the Court’s CM/ECF system and by placing same in the United States mail,
properly addressed and postage prepaid to counsel for the defendant, this OF Mtay of September,

2011.

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